            IN THE COURT OF CRIMINAL APPEALS
                        OF TEXAS
                  NOS. WR-90,618-04, WR-90,618-05 &amp; WR-90,618-06


                   EX PARTE MOHSIN MAZHAR SYED, Applicant


              ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
                CAUSE NOS. CR49672-B, CR49872-B, &amp; CR49396-B
            IN THE 238TH DISTRICT COURT FROM MIDLAND COUNTY



      Per curiam. KELLER, P.J. filed a dissenting opinion in which YEARY and KEEL, JJ.
joined.

                                      OPINION

       Applicant was convicted of sexual assault and sentenced to twelve            years’

imprisonment in each of these cause numbers. Applicant filed these applications for writs

of habeas corpus in the county of conviction, and the district clerk forwarded them to this

Court. See TEX. CODE CRIM. PROC. art. 11.07.

       The Court received these writ applications on April 6, 2022. Applicant alleges that

prosecutor Ralph Petty was working both as a prosecutor on his case and as a judicial legal

clerk at the time of his trial. On March 15, 2023, this Court denied and dismissed the
applications with a written order. However, the Court has since decided that the appearance

of impropriety entitled applicants in this situation to relief.        Ex parte Lewis, No.

WR-94,237-01 (Tex. Crim. App. May 8, 2024).

       After reconsideration on its own motion, the Court withdraws the previous order

entered in these applications and substitutes this opinion. Applicant is entitled to relief.

       Relief is granted. The judgments in cause numbers CR49672, CR49872, &amp; CR49396

in the 238th District Court of Midland County are set aside, and Applicant is remanded to the

custody of the Sheriff of Midland County to answer the charges as set out in the indictments.

The trial court

shall issue any necessary bench warrant within ten days from the date of this Court’s

mandate. Copies of this opinion shall be sent to the Texas Department of Criminal Justice

– Correctional Institutions Division and the Board of Pardons and Paroles.



Delivered: August 21, 2024

Do not publish
